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                                UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON


UNITED STATES OF AMERICA                            3:20-cr-242 SI

                   v.                               INFORMATION

ZACHARY ROY DUFFLY,                                 41 C.F.R. § 102-74.390(c)
                                                    40 u.s.c. § 1315
                   Defendant.


                        THE UNITED STATES ATTORNEY CHARGES:.

                                           COUNT 1
                            (Disorderly Conduct on Federal Property)
                                   (41 C.F.R. § 102-74.390(c))

        On or about July 21, 2020, in the District of Oregon, defendant ZACHARY ROY

DUFFLY did willfully enter in and on federal prope1iy, to wit: the grounds of the Mark 0.

Hatfield Federal Courthouse, and did exhibit disorderly conduct and exhibit conduct on the

property that impeded and disrupted Government employees from the performance of their

official duties;

        In violation of Title 40, United States Code, Section 1315 and 41 Code of Federal

Regulations, Section 102-74.390(c), a class C misdemeanor.

Dated: July 21, 2020                                Respectfully submitted,

                                                    BILLY J. WILLIAMS
                                                    United States Attorney


                                                    PAUL T. MA ONEY, OSB #01
                                                    Assistant United States Attorney


Misdemeanor Information                                                                     Page 1
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